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         ORDERED in the Southern District of Florida on April 9, 2019.




                                                  Laurel M. Isicoff
                                                  Chief United States Bankruptcy Judge
_____________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division
                                     www.flsb.uscourts.gov

        In re:                                            Case No. 18-14506-BKC-LMI

        MIAMI BEVERLY, LLC                                Chapter 11 (Lead Case)

                                                          Jointly Administered

        1336 NW 60, LLC                                   Case No. 18-14509-BKC-LMI
        REVEREND, LLC                                     Case No. 18-14510-BKC-LMI
        13300 ALEXANDRIA DR. HOLDINGS, LLC                Case No. 18-14511-BKC-LMI
        THE HOLDINGS AT CITY, LLC                         Case No. 18-14512-BKC-LMI

              Debtors.
        _____________________________________/


         ORDER GRANTING EMERGENCY MOTION TO APPROVE SETTLEMENT AGREEMENT
             BETWEEN THE DEBTOR-IN-POSSESSION, MIAMI BEVERLY, LLC, LIBERTY
            APARTMENTS, LLC, FREEDOM APARTMENTS, LLC, ABRAHAM AND DENISE
          VAKNIN, AND CLAIMANTS, GAYNISHA WILLIAMS, NATHANAEL MARS, SHANNON
         DANIELS, LAKEISHA CHATFIELD, AND LAKEISHA CHATFIELD ON BEHALF OF HER
                                  MINOR DAUGHTER T.C.
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          THIS MATTER came before the Court on April 5, 2019 at 9:30 AM1 upon Debtor,

Miami Beverly, LLC’s (the “Debtor”) Emergency Motion To Approve Settlement Agreement

Between The Debtor-In-Possession, Miami Beverly, LLC, Liberty Apartments, LLC, Freedom

Apartments, LLC, Abraham And Denise Vaknin, And Claimants, Gaynisha Williams,

Nathanael Mars, Shannon Daniels, Lakeisha Chatfield, And Lakeisha Chatfield On Behalf Of

Her Minor Daughter T.C. (the “Motion”) [ECF # 372], and the Court having reviewed the

Motion and the file, and being otherwise fully advised in the matter, and for the reasons stated

on the record and incorporated herein,

          ORDERS as follows:

          1.      The Motion is GRANTED.

          2.      Each and every term of the Settlement Agreement2 is approved and the Debtor

is authorized and directed to take all actions contemplated by the Settlement.

          3.      Liberty 1031, LLC is AUTHORIZED and DIRECTED to disburse $565,000.00,

to Legal Services of Greater Miami, Inc., pursuant to the terms of the Settlement.

          4.      The Court retains jurisdiction to enforce the terms of the Settlement Agreement.

                                                    ###




1The Motion was heard immediately prior to the hearing on Confirmation of the Corrected Second Amended
Plan of Reorganization [ECF # 329].

2   Unless otherwise indicated, all terms shall have the same meaning as set forth in the Motion.
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Submitted by:

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Copies furnished to:

Ido J. Alexander, Esq.

Attorney Alexander is directed to serve copies of this order on all interested parties and to
file a certificate of service.
